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                                    STATEMENT OF FACTS

        On January 6, 2021, I was on duty and performing my official duties as an Officer in the
United States Capitol Police. Specifically, I was detailed and deployed in uniform at the United
States Capitol building to provide protective functions for members of Congress and their staff.
As an Officer in the United States Capitol Police, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detention, investigation, or prosecution of a
violation of Federal criminal laws.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Vice President Mike Pence was present and presiding in
the Senate chamber.

        With the joint session underway and with Vice President Mike Pence presiding, a large
crowd gathered outside the U.S. Capitol. Temporary and permanent barricades surround the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside. At approximately
2:00 p.m., certain individuals in the crowd forced their way through, up, and over the barricades
and officers of the U.S. Capitol Police, and the crowd advanced to the exterior façade of the
building. At such time, the joint session was still underway and the exterior doors and windows of
the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted
to maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m.,
individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows.
Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the session resumed.

         At approximately 2:30 p.m. on January 6, 2021, I was performing my official duties on the
first floor of the United States Capitol building. In reacting to the crowd that had breached a
window of the building, I moved to a hallway in the northwest corner of the building, i.e., the
Senate wing of the Capitol building. While there, I attempted to form a barrier with other officers
to stop or deter additional individuals from entering the Capitol building. In the course of this effort
and while inside the Capitol building, I encountered an adult male who later identified himself to
me as Mark Jefferson LEFFINGWELL. LEFFINGWELL attempted to push past me and other
officers. When he was deterred from advancing further into the building, LEFFINGWELL
punched me repeatedly with a closed fist. I was struck in the helmet that I was wearing and in the
chest. Working with other officers, I was able to gain control over LEFFINGWELL, who
attempted to struggle while being detained. I transported LEFFINGWELL to United States Capitol
Police headquarters for processing. While in custody, but prior to being advised of his Miranda
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rights, LEFFINGWELL spontaneously apologized for striking the officer. When told that the
officer who LEFFINGWELL had struck was me, LEFFINGWELL apologized to me for striking
me.

        Based on the foregoing, your affiant submits that there is probable cause to believe that the
LEFFINGWELL violated 18 U.S.C. § 115(a), which makes it a crime to, among other things,
assault a Federal law enforcement officer.

         Your affiant also submits that there is probable cause to believe that LEFFINGWELL
violated 18 U.S.C. § 1752(a), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do; (2) knowingly, and with intent to
impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; (3) knowingly, and with the intent to impede or disrupt the orderly
conduct of Government business or official functions, obstruct or impede ingress or egress to or
from any restricted building or grounds; or (4) knowingly engage in any act of physical violence
against any person or property in any restricted building or grounds; or attempts or conspires to
do so. For purposes of Section 1752 of Title 18, a restricted building includes a posted, cordoned
off, or otherwise restricted area of a building or grounds where the President or other person
protected by the Secret Service is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.

        Your affiant also submits there is probable cause to believe that LEFFINGWELL violated
40 U.S.C. §§ 5104(e)(2)(D), 5104(e)(2)(F)-(G) which makes it a crime to, willfully and knowingly
(D) engage in disorderly or disruptive conduct, at any place in the Ground or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress
or either House of Congress, or the orderly conduct in that building of a hearing before, or any
deliberations of, a committee of Congress or either House of Congress; (F) engage in an act of
physical violence in the Grounds or any of the Capitol Buildings; and (G) parade, demonstrate, or
picket in any of the Capitol Buildings.


                                                      _________________________________
                                                      OFFICER DANIEL AMENDOLA
                                                      UNITED STATES CAPITOL POLICE

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone, this
7th day of January, 2021.                                                  Digitally signed by G. Michael
                                                                             Harvey
                                                                             Date: 2021.01.07 12:54:29 -05'00'
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
